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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                   (Alexandria Division)

                                            )
 INTERSECTIONS INC.                         )
    and                                     )
 NET ENFORCERS, INC.,                       )
                                            )
         Plaintiffs and Counter-Defendants, )
                                            )
      v.                                    )
                                            )
 J OSEPH C. LOOMIS,                         )          Civil Action No. 1:09cv00597 (LMB/TCB)
                                            )
         Defendant and Counter-Plaintiff    )
                                            )
 and                                        )
                                            )
 J ENNI M. LOOMIS,                          )
                                            )
         Defendant.                         )
                                            )

                       MEMORANDUM IN OPPOSITION TO MOTION
                        TO STAY ACTION AS TO JENNI M. LOOMIS

        Defendant Jenni M. Loomis, through counsel, submits this memorandum in opposition to

 Plaintiff’s motion to temporarily stay action as to her so that Plaintiff can “have a better

 understanding of the status of Joe Loomis’ bankruptcy case.” This rationale does not meet the

 standard of justifying a discretionary stay by clear and convincing circumstances outweighing

 the potential harm to the party against whom it is operative. Landis v. North American Co., 299

 U.S. 248, 57 S.Ct. 163, 81 L.Ed. 153 (1936); Williford v. Armstrong World Industries, Inc., 715

 F.2d 124 (4th Cir. 1983). Jenni Loomis is entitled to have her day in court and have her chance to

 exonerate herself from the accusations made by Plaintiff without further delay.

        Plaintiff’s claims against Jenni Loomis are long on rhetoric and short on substance. Joe

 Loomis was the sole beneficiary of the sale of his company, Net Enforcers, Inc., of which he

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 owned one hundred percent of the stock. Plaintiff must admit that Jenni Loomis is not and never

 was a principal of that entity. It was Joe Loomis who entered into the stock purchase agreement

 and made the representations and warranties, not Jenni Loomis. It was Joe Loomis who was paid

 $20 million in cash, stock options and earn-out compensation, not Jenni Loomis. It was Joe

 Loomis who earned a $250,000 annual salary post acquisition, not Jenni Loomis. And Plaintiff’s

 attempt to portray Jenni Loomis, who worked briefly as a contract bookkeeper earning $1,200

 per month falls flat when the amount of the bonus, $4,000, is disclosed and was part of a series

 of bonuses paid to other Net Enforcers employees ranging from $750 to $5,000 for a total of

 $44,000 prior to the closing of the transaction.

        Notwithstanding the use of the colloquial expressions of “cooking the company’s books”

 the actual substance learned in Jenni Loomis’ discovery deposition is that she generated invoices

 as directed by Joe Loomis, and other Net Enforcers’ employees such as Danielle and Jason

 Wood. And she made journal entries in the accounts as directed by Joe Loomis or as directed by

 the company’s outside CPA. Where the case against her falls short is in the suggestion that she

 generated bogus invoices and made corrective journal entries with knowledge of and intent to

 defraud Plaintiff in the acquisition of Net Enforcers, a transaction about which she had no

 knowledge of the details.

        The claims against Jenni Loomis are that she made material misrepresentations to

 Intersections, Count III – Fraud, and that she knowingly conspired with Joe Loomis to commit

 fraud, Count VII – Conspiracy. Under prevailing jurisprudence, the fraud count requires

 Plaintiff to prove that Jenni Loomis knowingly made a misrepresentation of fact to Intersections

 (she did not have any interaction with them in any respect) and the conspiracy count requires

 Plaintiff to prove damage resulted from Jenni Loomis’ knowing and malicious acts, not just that



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 there was a combination with her brother, or that she carried out his instructions as an

 employee. 1     CaterCorp Inc. v. Catering Concepts, Inc., 246 Va. 22, 431 S.E. 2d 277 (1993)

 quoting Gallop v. Sharp, 179 Va. 335, 338, 19 S.E.2d 84, 86 (1942). So mere proof of

 combination, or generating invoices and journal entries is not enough; the plaintiff must prove

 that each defendant sought to damage the plaintiff by pursuing an act through the formed

 conspiracy, willfully and maliciously. Va. Code Ann. § 18.2-499, and resulting damage to the

 plaintiff, Va. Code Ann.§ 18.2-500. Allen Realty Corp. v. Holbert, 227 Va. 441, 449, 318

 S.E.2d 592, 596 (1984). See Tazewell Oil Co. v. United Va. Bank, 243 Va. 94, 107-09, 413

 S.E.2d 611, 618-19 (1992).

         The facts necessary to support the claim against Jenni Loomis simply do not exist. At the

 end of Plaintiff’s case against her, Defendant Jenni Loomis anticipates prevailing on a motion for

 judgment.

         In any event, the mere filing of a bankruptcy petition by one defendant and the potential

 for more than one proceeding is not the type of circumstance justifying a discretionary stay.

 Cincinnati Insurance Company v. American Glass Industries, 07-cv-1133, 2008 U.S. Dist.

 LEXIS 40064 (E.D. Va. 2008). In Cincinnati Insurance Company v. American Glass, supra, one

 of the defendants filed for bankruptcy relief and the co-defendants moved for a discretionary

 stay. Finding that the bankruptcy debtor was not an indispensible party because co-obligors in

 tort are jointly and severally liable, Judge Cacheris ruled that the co-defendants were not entitled

 to the automatic stay coincident with the bankruptcy filing of the debtor. As to a discretionary

 stay, Judge Cacheris considered the hardship of the opposing party were a stay granted in having

 to wait additional time for its day in court. Judge Cacheris also noted that the circumstances

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  The unrebutted testimony is that Jenni Loomis and her brother Joe Loomis are not close seeing each other perhaps
 once per year. And Jenni Loomis worked remotely from her home in North Carolina whereas her brother and the
 main employees of Net Enforcers were either in Arizona or Florida.

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 under which bankruptcy courts issue discretionary stays were unusual and that they arise when

 there is such identity with the debtor that the debtor may be said to be the real party defendant

 and that the judgment against the defendant would in effect be a judgment against the debtor. An

 example is when the defendant is entitled to absolute indemnity by the debtor on account of any

 judgment such as to essentially defeat the purpose of the debtor’s automatic stay.

        Similarly, in this case, there is no set of unusual circumstances that would justify the

 entry of the discretionary stay. The clear and convincing set of circumstances must be unusual

 and must be of the type that would be tantamount to defeating the purpose of the debtor’s

 automatic stay. Those plainly do not exist here and cannot be said to outweigh the harm to Jenni

 Loomis having further delay to her day in court and opportunity to exonerate herself.

 Accordingly, the grounds for a discretionary stay do not exist and Plaintiff’s motion for that

 relief must be denied.


                                               Respectfully Submitted,


                                               ________/s/_____________________
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 17, 2010 I will electronically file the foregoing
 with the Clerk of Court using the CM/ECF system, which will then send a notification of such
 filing (NEF) to the following:

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        And I hereby certify that I will mail the document by U.S. Mail to any non-filing users
 who are parties in this case.

                                             _______/s/_______________________
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